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M. Zayas
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                    UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON



PLAINTIFF(S)                              Case No.: 20-CV-00747 JCC
                                          42 U.S. Code § 1983
MYRIAM ZAYAS,
                                          Deprivation of Civil Rights
v.
                                          42 U.S. Code § 1985.Conspiracy to
DEFENDANT(S).                             interfere with civil rights
                                          Official Misconduct
ANNETTE MESSITT,
Jeffrey Whitney,                          Adoption Prior to Reasonable Efforts
Amber Whitney,
Pauline Duke,
David LaRaus,
Jennie Cowan,
Ann Danieli,




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                                           JURISDICTION



  1. Venue is properly located in the Western District of Washington at Seattle

 2. Plaintiff claims federal jurisdiction pursuant to Article III § 2 which extends the

 jurisdiction to cases arising under the U.S. Constitution.

 3. Plaintiff brings this suit pursuant to Title 42 U.S. Code § 1983 for violations of certain

 protections guaranteed to her by the Fourth and Fourteenth Amendments of the federal

 Constitution, by the Defendant under color of law in her capacity as a judge in the

 Superior Court of King County.

 4. Plaintiff claims the Defendants who are state officials past or present, are believed to

 have violated Title 18 U.S. Code § 505.Seals of courts; signatures of judges or court

 officers. Whoever forges the signature of any judge, register, or other officer of any court

 of the United States, or of any Territory thereof, or forges or counterfeits the seal of any

 such court, or knowingly concurs in using any such forged or counterfeit signature or

 seal, for the purpose of authenticating any proceeding or document, or tenders in

 evidence any such proceeding or document with a false or counterfeit signature of any

 such judge, register, or other officer, or a false or counterfeit seal of the court,

 subscribed or attached thereto, knowing such signature or seal to be false or

 counterfeit, shall be fined under this title or imprisoned not more than five years, or both.

 "Whoever" includes "anyone" it doesn't specifically state whether it be a state official or

 normal person.

 5. “[t]he doctrine of qualified immunity prevents government agents from being held

 personally liable for constitutional violations unless the violation was of ‘clearly

 established’ law.” (William Baude)



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                                             PARTIES

    1.    Myriam Zayas (Zayas) is a resident of King County and resides in King County

         Washington, she is the 39 yo mother of 5 children and adults, she lives in the City of

         Kent, Washington in the Unites States.

    2.    Defendant, ANNETTE MESSITT (“Judge Messitt”), at all times relevant hereto was/is the

         Family Court Judge at the Regional Justice Center and Plaintiff’s judge in her current

         dependency matter. Messitt is sued for damages in her individual capacity and in her

         official capacity within the meaning of 42 U.S.C. Section 1983, and at all times relevant hereto

         acted under color of state law.

      3. Defendants the "WHITNEY'S" Jeffrey and Amber Whitney at all times relevant hereto is/was
      the foster-to-adopt parents who immediately received "adoption assistance" too soon for any
      reasonable efforts to have been made with respect to the Adoption and Safe Families Act of
      1997. Upon further information and belief are both residents of King County Washington. The
      adoption assistance was received illegally on the part of Judge Messitt lacking the proper judicial
      determination required during a mandated emergency order #6, when such actions were deemed
      prohibited by the court above, yet still she distributed all such funding for a period of going on 7
      months today. Furthermore Judge Messitt received these federal funds illegally by using a
      falsified forged document, which she herself filed to be true and correct on March 17th 2020. This
      document is further explained throughout the rest of this complaint, and is called the Shelter Care

      Hearing Order. Please see page 34 for further information.




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4.     Defendant, PAULINE DUKE(hereinafter “Defendants”)("court officials"),those under the
direction of Judge Messitt at all times relevant hereto was/is the CASA at the Regional Justice Center and
Plaintiff’s CASA in her current dependency matter. PAULINE DUKE is sued for damages in her
individual capacity within the meaning of 42 U.S.C. Section 1983, and at all times relevant hereto acted

under color of state law.
5.     Defendant, DAVID LARAUS(hereinafter “Defendants”)("court officials"), those under the
direction of Judge Messitt at all times relevant hereto was/is the ATTORNEY GENERAL at the Regional
Justice Center and Plaintiff’s AG in the Plaintiffs current dependency matter. DAVID LARAUS is sued
for damages in his individual capacity within the meaning of 42 U.S.C. Section 1983, and at all times

relevant hereto acted under color of state law.
6.     Defendant, DEBBIE COWAN(hereinafter “Defendants”)("court officials"), those under the
direction of Judge Messitt at all times relevant hereto was/is the ATTORNEY FOR CASA at the Regional
Justice Center and Plaintiff’s CASA's attorney in the Plaintiffs current dependency matter. DEBBIE
COWAN is sued for damages in her individual capacity within the meaning of 42 U.S.C. Section 1983,
and at all times relevant hereto acted under color of state law.




Number 4-6 conspired with Judge Messitt and continue to cover the forgery, they have successfully
manage to keep her child in foster care in retaliation to their lawsuit the Plaintiff filed against the
social workers for being racist and sexist. All of them lack probable cause and they committed a class c
felony by covering forgery and knowingly sitting on the docket, verbally testifying to the false
document stating that Danieli is the one who in fact did sign the order, Plaintiff has all 3 of them on
audio trying to convince the Plaintiff that Danieli was the judge on the 17th of March. Now they are
deliberately trying to make her suffer for holding them accountable. They should all be fired. forgery
and filing a falsified document to be true and correct is a crime, they are actively conspiring to keep
the Plaintiff away from her child and have been for 205 days so far.
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7. Defendant, ANN DANIELI(hereinafter “Defendants”)those under the
direction of Judge Messitt at all times relevant hereto was/is the former commissioner at King
County Superior Court and assisted Judge Messitt in her crimes. ANN DANIELE is sued for
damages in her individual capacity.


On or about the 17th day of July, 2020 , in the County of King, State of Washington, the
above-named Defendant Ann Danieli, with intent that conduct constituting the crime of
Rendering Criminal Assistance, to-wit: by sending Judge Messitt the forged document to alert
her that the Plaintiff was aware of Judge Messitts forgery and to assist her if needed in
covering the forgery, be performed, did agree with one or more persons to engage in or cause
the performance of that crime, and any one of such persons did take a substantial step in
pursuance of such agreement; contrary to Revised Code of Washington 9A.28.040 and RCW
9A.76.050 Rendering criminal assistance As used in RCW 9A.76.070, 9A.76.080, and
9A.76.090, a person "renders criminal assistance" if, with intent to prevent, hinder, or delay
the apprehension or prosecution of another person who he or she knows has committed a
crime or juvenile offense or is being sought by law enforcement officials for the commission of
a crime or juvenile offense or has escaped from a detention facility, he or she:
(2) Warns such person of impending discovery or apprehension;
(4) Prevents or obstructs, by use of force, deception, or threat, anyone from performing an act
that might aid in the discovery or apprehension of such person;

The court clerk, bailiff, and all parties related to the creation of the fake fraudulent audio,
connected to the shelter care hearing "minutes" added 5 months after March 17th 2020,
include David LaRaus, Jennie Cowan, Pauline Duke, all of them approved this false forged
document under oath at the Plaintiffs trial in their attempt to further their fraud, they
continue to conspire today and are now holding her child away from her without probable
cause for removal from day one.

Ann Danieli lacks any form of judicial immunity she does however have lawyer immunity
except she is not the Plaintiffs attorney nor was she at work when she committed this crime
being that it was 7am on July 17th 2020. Unless her office is open at 7am which according to
Google Anne Danieli Law Firm is not open at 7:00am.

The Plaintiff is not Ann Danielis client therefore should have no immunity. All parties worked
together to assist the core reason this case started "racial injustice" and "title funding" which
began in the warped and twisted minds of the Defendants in case number 20-cv-00981 JLR-
TLF who only remove and with hold children from caucasian parents they absolutely enjoy
doing this. Forcing their religion to children that they did not give birth to, taking children for
reasons that do not include child abuse which is against the law. But these corrupt family court
judges favor these racist social workers and not all are black but they all target white or half
white infants only. Ann Danieli has no judicial immunity. This will prove the Plaintiffs entire
case.
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                                    JURY DEMAND

    No jury trial requested.




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                                            INTRODUCTION

         If you can’t already tell by my prior complaints I am not a lawyer, I also do not want the

    attorney general to throw out all my evidence as I stated in the last complaint.

         These officials at the state level are corrupt they are writing Emergency orders that say,

    "only remove a child if its mission critical" the public would hope that it always is "mission

    critical" every time they remove anyone's child, otherwise a whole lot of children have been

    wrongfully removed.

         Two forged and falsified documents filed on March 17th, 2020; a fake hearing was held

    no minutes exist on the docket. All parties in the directly related following cases covered this

    official misconduct for a period of 4 months: 20-cv-00650, 20-cv-01001, 20-cv-00981. I do

    not know how to sue people, I do not know what rules to follow, all I do know is that I have

    tried to complain to all complaint agencies and I have come to the conclusion that all those

    employed at these agencies may in fact be infertile and on the list for adopting a newborn

    from CPS, because they do nothing for my complaints.

         The police stated this is not a crime against me.




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                                                  FACTS

    1. Only about 1770 children die from a child abuse yearly (since 1980) out of 74 million in

         the US this accounts for 0.002% of the child population and does not give these court

         officials the right to commit felony forgery and other crimes against the freedom of a five-

         year-old. Nor does it excuse their civil rights violations against that child’s mother, the

         Plaintiff.

    2. The Plaintiff has been in contact with the CJC (commission of judicial conduct) and they

         stated they were actively investigating but they also said this in 2012, 2013, never did

         anything back then when she complained about another judge, so the Plaintiff is sure if

         they are investigating then they have to know what happened and refuse to do anything

         about it. 3 months ago, they replied acknowledging her complaint and the Plaintiffs

         allegations of unfairness and fraudulent documents in her attempted dependency.

    3. Plaintiff did not know she was not allowed to communicate with the judge she has done

         time and was always told to “write a letter” to the judge. They make their email address

         public, so she thought it was okay to do. Plaintiff had absolutely no contact with her child

         for 6 weeks so emailing the judge seemed extremely required. On April 9th, 2020 the

         Defendants bailiff filed all of the emails that the Plaintiff sent to the Defendant asking

         why she signed the order to remove her child, directly on to her case. Plaintiff believes

         that none of the court officials involved have ever given birth at the level of cruelty they

         disperse.

    4. The attorney general will say there is an open dependency for the Plaintiff, legally there

         can be no active dependency in the Plaintiffs name since the documents and hearings

         required for there to be one are fraudulent, forged and therefore void.

    5. On or about the 16th of March 2020 the Plaintiffs 5-year-old child was removed from her

         daycare center, all schools were closed 3 days prior, stating it would be likely “months”

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         before reopening. There was no “oath or affirmation” given other than a declaration filed

         2 times that day, 1014am and 149pm, neither have any proof that a hearing or

         affirmation or oath was given.

    6. March 16th, 2020 The Defendant signed a removal order to remove the Plaintiffs child

         during COVID-19:

                         Emergency Order #6 20-0-12050-5 1. LIMITING MOTIONS AND COURT
                         APPEARANCES IN FAMILY LAW MATTERS 2. ADDRESSING FAMILY
                         LAW OPERATIONS AND SERVICES

         which ordered that no hearings be held unless telephonic due to the COVID-19

         pandemic, unless special permission be granted, such permission must be requested,

         and the removal must be “mission critical”

    7. On March 17th, 2020 at the Regional Justice Center in Kent Washington on 401 fourth

         Avenue, the Plaintiff attended a Shelter Care Hearing for her child or so she thought, at

         830am. Plaintiff had no idea what could or could not happen or what rules to follow. The

         Plaintiff assumed taking children would be important enough to have court. That day all

         officials in the court room knowingly faked the hearing “acted” in their official duty, to the

         public it would seem as if they were doing their job when in fact they were breaking the

         law by violating the emergency order #6 and not going on the record for the hearing.

    8. During the hearing that day the Defendant, who is the Plaintiffs judge, seemed to rush

         like she was in a hurry and Plaintiffs attorney told the Plaintiff to be quiet, Plaintiff

         thought this was odd. The Defendant agreed that Plaintiff should in fact be quiet. But the

         Plaintiff had so much to say. The Defendant did not care to hear her, smiling at the

         social worker throughout the hearing. The Defendant rolled her eyes when the Plaintiffs’

         lawyer spoke. Waving her right hand in a rolling gesture as if to hurry everyone up.

    9. When the hearing was over the Defendant shooed the Plaintiff away with her hands

         when the Plaintiff attempted to speak and said that the medication, she was on was

         likely what caused the 1 dirty drug screen that removed her child the day before.
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         Defendant nodded her head and stated, “Okay bring in the doctors note.” The

         Defendant then waved the Plaintiff away like she was a flying insect.

    10. After that hearing Plaintiff was never given any paperwork, except one sheet of paper

         with resources for rental assistance handed directly to her from the social worker. The

         court did not want the Plaintiff to do anything to get her child back what? No court

         documents given to the Plaintiff. They also never asked her to sign anything

    11. The Defendant and all court officials involved never went “on the record” at that hearing

         on March 17th, 2020. Meaning there is no proof the hearing ever happened other than 2

         documents filed on the docket that day. Those 2 documents were both forged with

         another (former) judge’s signature that was not there that day and was eligible to

         practice law. According to WSBA website.

    12. Throughout the entire 4 months of no visitation for all parents March-July 2020 the

         Plaintiff requested from her free attorney over 20 times for in person visits but her

         attorney refused to file this motion, Plaintiff sent her attorney the emergency order where

         it stated parents were permitted to requesting these if they had special circumstances.

         She would just ignore her. Plaintiff believes the Defendant told her attorney not to allow

         any motions.

    13. Due to COVID-19 the courts cancelled all future court hearings and the Defendant did

         not want the Plaintiff to attend the hearing on the 18th of May 2020. Plaintiffs attorney did

         not tell her this hearing was even going to happen, then stated she did not need to be

         there, she had not had a hearing in months. This was torture directly from the Defendant

         to the Plaintiff.

    14. No minutes exist on the docket until May 18th, 2020 in Plaintiffs case. On that day the

         Defendant forced the Plaintiff to have another attorney after firing the first one who

         refused to motion for in person visits and ignored everything the Plaintiff requested, the

         Defendant also told the Plaintiff she was NOT allowed to speak about what she wanted
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         to. The Defendant had no clue why the Plaintiffs child was removed. The Plaintiff has the

         audio to this and several other “hearings” that can be heard and do exist on the docket

         referenced to as “minutes.” The Plaintiff has all the emails to and from her attorney

         proving her deliberate avoidance.

    15. Plaintiff did not have access to it therefore had no clue about the forgery until July 13th,

         2020, she always accused all of the Defendants of the Dependency Petition being

         falsified. The Plaintiff found the forgery after getting her court records from the clerk in

         her attempt to gather evidence for her allegations against the social workers for perjury.

         The only evidence Plaintiff found would not prove such a claim.

    16. July 13th, 2020, Plaintiff searched for the person whose signature all claim was the judge

         at the hearing and sent the former commissioner an email asking if this was her

         signature. Instead of replying she sent the Plaintiffs email to the Defendant. The

         Defendant then redacted the former commissioners email address and forwarded the

         email to the Plaintiff stating, “No ex parte communication.” Plaintiff has this email.

    17. Every court date after the 18th of May court officials switched the judge each time and

         postponed, prolonged, and procrastinated, adding another 60 and 45 days on top of

         each hearing. Excuse after excuse.

    18. The 4 months of being separated without touching her 5-year-old between March 17th,

         2020 to July 2020 were indescribable, the Plaintiff has never experienced such

         confusion and emotional pain as she did that first 6 weeks her entire life. Plaintiff did not

         get to see, speak to, or hold her child for 6 weeks straight. She did not have a working

         camera on her phone, and limited Wi-Fi.

    19. Plaintiffs counselor and doctor can both testify that the Plaintiff was in a severely

         depressed state mentally after this happened. Plaintiff told the Defendant everything that

         was happening, she was ignored.


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    20. On the top of her shelter care order a sentence that states “DUE TO PUBLIC HEALTH

         CRISIS” not to hold a mediation which was set for more than 2 months out. Proving all

         court officials were well aware it would be months before her next hearing.

    21. On July 13th, 2020 the Plaintiff sent this email to the boss of her attorney that assisted in

         faking the shelter care hearing this was the day she found the forged shelter care order:

                          Email from Plaintiff: “Your employee committed a crime and I guess
                          immunity might make it pass any jail time, but I never had a shelter care
                          hearing. It's not on the books and the judge never signed the order. I
                          knew I wasn't crazy. I knew it was them the entire time. Unless you can
                          find a signed copy? They have had my child illegally for 4 months. Myriam
                          Zayas”

                          Reply from Supervisor Family Defense Unit: “I am sending you a copy
                          of the signed shelter care order in your case that was entered on March
                          17, 2020. The judicial officer presiding over your hearing was Pro Tem
                          Commissioner Danieli, and you will see that she signed this order. This is
                          the order that is contained in the Court file.”


    22. This supervisor then sent the Plaintiff a different copy of the forged order than the one

         filed to the docket, this one contained the signature of her attorney at the time and the

         attorney general.

    23. The Washington state Constitution Section IV number 19 states a Judge is not permitted

         to practice law. This is why under the Judges (Defendants) WSBA license it says "No"

         under "Eligible to practice law". The signature of the person who signed Plaintiffs Shelter

         Care Order is "Eligible to Practice" "Yes". WSBA website who govern all legal officials in

         the state of Washington. Last updated January 2020. The commissioner who signed the

         Plaintiffs shelter care order was voted out in 2008, and currently is not working for King

         County Superior Court.

    24. The Defendant performed acts under "color of law" that went beyond the bounds of her

         lawful authority, the Defendant was an official purporting to act in the performance of her

         official duties. Removing the protected parental rights of the Plaintiff and her child’s


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         familial relation, during a lock down when the courts above specifically ordered for this to

         not happen.

    25. The Defendant violated the Plaintiffs Fourteenth amendment right in the Bill of Rights, of

         the US constitution. While clothed in the authority of the state acting under the color of

         law the Defendant violated the Plaintiffs privileges and immunities; the Defendant

         deprived the Plaintiff of liberty, and her property, her child and parental rights without

         due process of law.

    26. By not giving her a 72-hour hearing that was fair and valid. Also avoiding any and all

         hearings with the Plaintiff. The laws and rules created to protect the Plaintiffs civil rights,

         yet they were violated by the Defendant, removing equal protection of the laws the

         Defendant followed these laws with other parents. Because her child was removed

         during lock down the Defendant felt like she should be a victim of a crime. The Plaintiff

         was unprotected. The court officials all knew they committed and/or covered forgery

         against the freedom of a five-year-old child for one dirty drug screen and they were okay

         with this.

    27. The Defendant violated the Plaintiffs Fourth amendment rights of the US constitution, by

         agreeing and signing an order to remove her child without probable cause, without oath

         or affirmation, and without having a shelter care hearing that was recorded, or

         transcribed, during a mandated lock down. The Defendant directed all those under her to

         pretend that they were having a court hearing this is likely why they all rushed through

         the hearing on March 17th, 2020.

    28. By hiding this forged document from the Plaintiff, faking the entire hearing, avoiding the

         Plaintiff when she accused them of violating the governor’s orders, the court officials all

         of them including the Defendant and especially the social workers have committed

         and/or directed others to commit all of the following:


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  a. RCW 9A.80.010 Official Misconduct deliberately removed her parental rights, committing

       an unauthorized act under the color of law.

  b. RCW 42.20.100 Failure of duty by public Officer. March 17th, 2020

  c. RCW 42.20.050 Public Officer making False Certificate. March 17th, 2020

  d. RCW 43.06.220 State of emergency. March 16th, 2020 by deliberately violating the

       governor’s orders Emergency order #6 and

  e. RCW 9A.60.020 Forgery. forging a document for fear of being held accountable for

       removing a child when the court officials should not have. March 17th, 2020

   f. 42 U.S. Code § 1985.Conspiracy to interfere with civil rights: The Defendant conspired

       with other court officials to fake the hearing on March 17th 2020. (pretend)

  29. Defendant and those who worked under her direction engaged in a widespread,

      unwritten, custom and/or practice to disregard clearly writing policies prohibiting

      falsifying court documents, violating the rights of parents, and official misconduct and/or

      that decisions were made by King County Superior Court LJuCR, LFLR with final

      policymaking authority contrary to express requirements prohibiting the falsifying of court

      documents, their acts all of them were official misconduct. The Defendant did herself,

      and/or directed those under her to file false and forged documents to the docket to be

      true and correct using malice on March 17th, 2020, at Maleng Regional Justice Center in

      Kent at 401 Fourth Avenue.

  30. As a direct and proximate result of Defendants crimes and civil rights violations against

      Plaintiff, she and her child through her, have suffered and will continue to suffer severe

      and substantial damages; this damage includes loss of familial relations, and sacred

      bonds with her child, deliberately tortured by the Defendants actions for reason that do

      not include child abuse and lack probable cause for warrant to remove any and all of

      them at any time in their or the Plaintiffs life.


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    31. Plaintiff has lost income due to paying child support when her child should be home,

         she and her 5 year old child have suffered extreme and severe mental anguish and

         emotional distress, loss of reputation, humiliation, embarrassment, inconvenience,

         mental and emotional anguish, distress, pain and suffering, and other compensatory

         damages.

    32. The Defendant and those under her direction violated all of the following chapters LJuCr,

         LFLR local rules in the Plaintiffs case:

TITLE II. SHELTER CARE PROCEEDINGS
TITLE III. DEPENDENCY PROCEEDINGS
TITLE IV. PROCEEDINGS TO TERMINATE PARENT-CHILD RELATIONSHIP


    33. Plaintiffs child is only 5 years old the Defendants will be back, and this does account for

         repeat injury by a family court judge in the state of Washington the Plaintiff has

         documented proof of injuries from 2010-2013 for herself and her oldest children.

    34. Section 1983 provides:

                  “Every person who, under color of any statute, ordinance, regulation, custom or
                  usage, of any State or Territory … subjects, or causes to be subjected, any
                  citizen of the United States or other person within the jurisdiction thereof to the
                  deprivation of any rights, privileges, or immunities secured by the Constitution
                  and laws, shall be liable to the party injured in an action at law, equity, or other
                  proper proceeding for redress.”




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                                                INJURY


1. Plaintiff missed her child losing her first and second tooth.

2. Plaintiff was not the one to teach her how to swim.

3. Plaintiff was not the "mother" to host her 6th birthday party.

4. Unhealthy weight loss, Vision loss from staring at the computer screen

5. Lost trust in authority of all kinds at the state level, police, sheriff, all of them highly

    unfavorable supporting fraud and unnecessary child removals during a lock down.

6. Depression, Severe mental anguish, emotional distress, anger, fear, physical pain from

    depression, high blood pressure, roller coaster depression, inability to cope, lost interest in

    life.

7. Plaintiffs child has suffered the greatest out of all by being separated during a mandatory

    lock down from her only parent, when she was not supposed to be according to governors’

    orders for a fake virus. She cries every single night and the Defendants in the other case

    continue to withhold weeks of visitation.

8. Plaintiffs bond and trust with her child is severely damaged, destroyed and no remedial

    actions have been made by the Defendant to fix this.

9. Plaintiff is paying right now $314 a month out of the maybe $700-750 she receives monthly

    for unemployment; her child was removed using a felony during a lock down when they

    were not permitted to even having a court hearing. Kelsey Owens forced foster placement

    for title funding. The Defendant is in charge of this title funding which the courts have likely

    been receiving illegally since the judicial order is invalid, and the shelter care order is

    fraudulent. They also never created a case plan within 60 days as required by the Adoption

    and Safe Families Act for any child to receive "Adoption Assistance"




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                                                        RELIEF

         WHEREFORE, plaintiff Myriam Zayas, prays for judgment against the

         Defendants as follows

         1. For special damages.

         2.   For costs and expenses incurred in this proceeding;

         3. For filing fees;

         4. For interest on all special damages;

         5. In the event that the evidence shows that Defendants engaged in reckless or willful

    conduct injuring Plaintiffs, Plaintiffs further pray for punitive damages against Defendants

    in an amount to be determined to be fair and just, but not less than three times the sum of

    special and general damages awarded; and

         6. For such other and further relief as is equitable and just.

         7. Child support paid back to the Plaintiff. (punitive)

         8. Plaintiff is requesting the judges salary until her child’s 18th birthday.




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                                             INJUNCTIVE RELIEF

    1. All removals of all children should always be mission critical.

    2. All judges no matter which court should know the details of the case they are presiding

         over especially when a child has been removed.

    3. Family court judges should be held to a higher standard breaking apart families should

         never be done carelessly.

    4. All parties should be required to read the discovery of all parents no matter how many

         pages it is.

    5. Abolish the Adoption and Safe Families Act of 1997.

    6. Remove the termination petition from the dependency order.

    7. Make it a crime to withhold visitation from parents.




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   I.       Certification and Closing

                  Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best
                  of my knowledge, information, and belief that this complaint: (1) is not being
                  presented for an improper purpose, such as to harass, cause unnecessary delay,
                  or needlessly increase the cost of litigation; (2) is supported by existing law or by
                  a nonfrivolous argument for extending, modifying, or reversing existing law; (3)
                  the factual contentions have evidentiary support or, if specifically so identified,
                  will likely have evidentiary support after a reasonable opportunity for further
                  investigation or discovery; and (4) the complaint otherwise complies with the
                  requirements of Rule 11.




            A.       For Parties Without an Attorney

                  I agree to provide the Clerk’s Office with any changes to my address where
                  case–related papers may be served. I understand that my failure to keep a
                  current address on file with the Clerk’s Office may result in the dismissal of my
                  case.


                  Date of signing:
                                       09/03/2020




                                                         Myriam Zayas




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                                                 08/31/2020
                                                 Myriam Zayas




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     Amended 09/18/2020 to correct some dates and times and add injury and relief.
NOW COMES the Plaintiff, MYRIAM ZAYAS, by and through herself and for her Complaint under Section 1983 for
the counts described, including procedural due process violations against the Plaintiff by the Defendant and those
she instructed to and conspired with in committing these unauthorized acts, Plaintiff states:
1.       On and before March 16th, 2020, the Plaintiff, MYRIAM ZAYAS resided at 27369 129th place SE Kent WA

98030.

2.       On and before March 16th, 2020, the Defendant and those under her direction, all of them, were and are

presently employed at 401 Fourth Avenue Kent WA 98032, by King County Courts for Washington state, they are

clothed under the color of state law as a state official.

3.       On March 16th, 2020, at approximately 10:14am, and at all times relevant to this claim, Defendant, KELSEY

OWENS, and Judge ANNETE MESSITT were pretending to act in their official duty, they approved a warrant for the

removal of Plaintiffs child without oath or affirmation before the courts, and without probable cause.

4.       No such documentation of an oath or affirmation in the form of transcription or audio recording exist on the

court docket in the name of the Plaintiff or her minor child, stating the reason for her removal sworn before an

approved state official, Plaintiffs child was removed by the Defendant KELSEY OWENS from her daycare center at

around 11am on or about March 16th 2020.

5.       No such documentation of a shelter care hearing which was written in pen into the case schedule in the name

of the Plaintiff supposedly occurred March 17th 2020 at 830am, and at all times relevant to this claim, there is no

transcription or audio recording that exist on the court docket in the name of the Plaintiff or her minor child

referencing this hearing ever occurred, stating the reason for her child’s removal, allowing the Plaintiff to cross examine

any witnesses. No hearing exists on the record for the Plaintiff at all, this is required by law within 72 hours, following

the removal of the Plaintiffs minor child one day prior.

6.       There were 2 other families in the courthouse on March 17th, 2020 at 401 Fourth Avenue Kent WA 98032, that

day who both also likely have forged court orders and or missing hearings altogether. These parents likely have no clue

of these events, or forged documents.

7.       The only things that occurred were documents filed to the Plaintiffs case 2x on this day March 17th, 2020 these

filings consist of 2 forged fraudulent documents in the Plaintiffs name and that of her minor child. These 2 documents

are believed to have been added by KELSEY OWENS. These documents also contain a Dependency Petition filed on

March 16th, 2020 where the Defendants spelled the Plaintiffs child’s name wrong 3 times in one single document. This

proves careless willful negligence, on the part of the Defendant, they were plainly incompetent.



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9.        If the Defendants actions were lawful why sign another name?

10.       Notwithstanding that duty, at that same time and place there was an active emergency order #6 in affect

by governor Inslee of Washington state that was to be followed by all court officials throughout the state, this

order stated that no children be removed unless “mission critical” and in such case they must be granted

permission prior to the hearing, otherwise court shall be continued until after April 24th 2020. Effective March

16th, 2020 and written on March 10th, 2020.

11.       On March 16th, 2020, the Plaintiff was injured, upon losing custody of her child the Plaintiff suffered

from long lasting irreparable repeated injury, severe mental and emotional anguish, as a direct and proximal

result of the Defendants unlawful official misconduct, which included evil intent, trickery, the Defendants all of

them acted with deliberate indifference, when they committed these unauthorized acts, which include violating a

number of JuCR 2.2 Superior Court Rules, the Defendants also violated RCW 9A.80.010, RCW 42.20.100, RCW

43.06.220, against the Plaintiff and her 5 year old child.

12.       The worst and likely most damaging part of their unlawful actions in number 10 are that the Defendants

covered and hid their crimes for a period of more than 6 months. Beginning March 17th, 2020 until today.

Refusing Plaintiffs requests to have court hearings regarding visitation with her child, she requested this type of

hearing for many months and she was ignored deliberately by the Defendants, for their fear she would uncover

their crimes.

13.       On or about July 13th, 2020. The Plaintiff obtained the docket list in its entirety from her child’s case,

from the Kent court clerk at the Regional Justice Center, she would also obtain the forged shelter care hearing

order and authorization for medical care for her child, forged as well. Filed on March 17th, 2020. The signature

on these 2 documents are not of the judge in the Plaintiffs case. They are the signature of a practicing lawyer.

14.       On or about Friday July 17th, 2020 at 720am the Plaintiff sent an email to the person who she thought

signed her shelter care hearing order, she found this person’s email address on an old blog. On the Monday

following July 19th, 2020 at 8:55pm Judge Messitt forwarded this email the Plaintiff sent, as an attachment to the

Plaintiff. Along with redacting the original recipients email address, directly from the bailiff of Judge Messitt she

stated that there is no “ex-parte communication” allowed. Confirming the 2 are homies, and willing to cover for

one another.




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15.     The Defendants all of them in related cases as well as this case are guilty of one or more of the following

acts and/or omissions:

  a. Violating Governor’s emergency order #6 written March 10th, 2020. 2x

  b. Committing a number of unauthorized acts by faking the Plaintiffs court hearing. 03/17/20

  c. Removing Plaintiffs protected fundamental rights without probable cause. 4x

  d. Removing Plaintiffs protected rights acting with evil intent and malice. 2x

  e. Removing Plaintiffs protected fundamental rights using forgery and fraud. 1x

  f. Removing Plaintiffs protected rights without granting her due process. 2x

  g. Filing fraudulent documents to be true in their effort to remove her rights.2x

  h. Actions committed by the Defendants are considered crimes against the Plaintiff

  i. The Defendant never made remedial efforts to correct their actions. 4months

  j. Defendant also directed those around them to try and trick the Plaintiff.

16.     One or more of these acts and/or omissions of the Defendants was a proximate result of their law

breaking, and/or assisting/directing other state officials to break the law, the state officials conspired together to

violate the rights of the Plaintiff in committing rule violations, planning, and plotting their acts of fraud, deceit

and official misconduct, knowingly and with evil intent. The Defendant and those working by her direction,

purported to be acting in their official duty, while knowingly violated the civil rights of Plaintiff and her child,

repeatedly over and over again, over a long period of time. 6+months.

17.     As a direct and proximate result of one or more of these acts and/or omissions by the Defendant and/or

those court officials she instructed to act on her behalf, Plaintiff, MYRIAM ZAYAS has been injured, damaged

and this damage is permanent and ongoing; has in the past and will in the future, incur legal obligations for

defense against future harassment by state officials, felonious court officials, that discriminate, play favorites to

men, and target her unfairly taking advantage of her lack of knowledge or income, future and past hospital,

medical, nursing, mental health, heart problems, rehabilitative and related services and treatment; has lost wages

and will stand to lose wages and job opportunities in the future and past; has been caused to suffer physical &

emotional pain, depression, severe mental anguish, mental health disability, permanent mental health diagnosis

and inconvenience; lost bonds and trust from her children, embarrassment, wrinkles, stress, hair loss, loss of

relationships,



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friendships, social life, community trust, support, lifelong trauma for all of her children some who are now

young adults, they suffered the most undeserving pain no child should have to go through unless the mission is

“critical”, all of which injuries and conditions are permanent including financial and economic losses for the

Plaintiff and all of her children. Even her children not yet born, are at risk of being stolen in the future,

Defendant and those who work under her direct order, always severely lack probable cause. Her discovery is

riddled with unlawful conspiring events facilitated by the Defendants court officials and social workers under

her direction, especially incompetent social workers, surrounding her most recent child birth.

18.       Plaintiff has complained over 100 times since 2011 about crooked family court judges that work with

CPS, via on line, postal mail, to the Attorney General of Washington, Senator of Washington, Commission for

Judicial Conduct, Ombud’s for DCYF, they all have heard her complaints loud and clear and ignored avoided,

denied, rerouted, minimized, failed over and over and over again for 2 decades. These “complaint agencies” are

USELESS, incompetent, and should be VOIDED eternally, fired, permanently defunded and penalized for their

repeated idiocy.

19.       All employed at these agencies are either blind or on the list to adopt a newborn from CPS. It is insane

it took the Plaintiff this long and she had to learn how to sue the state on her own, no lawyer likely on the wait-

list for a newborn as well, would ever even respond, or help her. This is a felony and even the chief of police

referred the Plaintiff to a detective who informed her this is not a crime against her or her child.

20.     WHEREFORE the Plaintiff, MYRIAM ZAYAS demands much deserved punitive, monetary, special,

general, compensatory, all of the above damages paid to her and her adult children by the Defendant. With

holding visitation 6 weeks, then 4 months should be considered torture, especially using felony forgery on the

court order, filing it with malice, during mandated lock down when the above courts said not to remove

children.

21.       The Plaintiff begged the Defendant for in person visits with her toddler, who often cried and hid from

the camera, she was ignored avoided and thrown in the garbage the Plaintiff and her child was by the

Defendant. The Defendant broke a 5-year-old girls’ heart, using fraud, deceit, felony forgery, trickery, and the

mission was never critical. Uttering a false instrument against the freedom of a 5-year-old. The Defendant

committed a felony, RCW 9A.60.020. Covering forgery, and forging the document are both the same crime and

punishment, for a period of 6 months.

22. The Defendants trusted attorney general has since obtained the Plaintiffs entire medical record over 2000

pages and have since found 2 dirty drug screens over 40 years, this is their definition of "child abuse" the

contents of the Plaintiffs urine. Crooked corrupt court officials, need to drug screen themselves.
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    1. King county government should be ashamed of themselves this is obvious common behavior.

 They all know they are bullet proof and will get away with this so they will of course keep

 doing it.

 2. The judge and all court officials hide the termination petition inside the dependency order without

 explaining to the biological parents that as soon as they sign the adoption process begins. These

 parents have no clue. the adopting parents do because adoption assistance begins immediately.

 3. Since 1997 US foster to adopt parents have been adopting stolen children and immediately

 receiving payout for these adoptions. Thats why parents are going nuts committing suicide. CPS is

 selling their children for "adoption assistance" and title funding. This funding goes on until that

 child's 21st birthday. High end welfare for hopeful adopting parents.

 4. The only 2 goals set after that dependency order is signed is Termination and Adoption.

 Reunification would defeat the purpose and is prohibited from being funded under ASFA of 1997.




                          Amended 09/18/2020 Myriam Zayas




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Normally punitive damages are not awarded except by a jury at trial, and especially not in

the case of such a high government official, the immunity is so solid. However the Plaintiff

believes that for this reason, the audacity of the Defendant Messitt's actions give more

reason to awarding such damages, this was crime against a child not just the Plaintiff.

  1. The primary purposes of punitive damages are punishment and deterrence of like

     conduct by the wrongdoer and others. “Malice” means “conduct which is intended by

     the Defendant to cause injury to the Plaintiff , or despicable conduct which is carried

     on by the Defendant with a willful and conscious disregard of the rights or safety of

     others.

  2. “Fraud” for purposes of a punitive damages award means “an intentional

     misrepresentation, deceit, or concealment of a material fact known to the defendant

     with the intention on the part of the defendant of thereby depriving a person of

     property or legal rights or otherwise causing injury.”

  3. Federal Civil Rights Act (42 U.S.C § 1983) punitive damages are recoverable against

     an individual “…when the defendant’s conduct is shown to be motivated by evil

     motive or intent, or when it involves reckless or callous indifference to the federally

     protected rights of others.

  4. Punitive damages may properly be imposed to further a State’s legitimate interests in

     punishing unlawful conduct and deterring its repetition.



                                          Myriam Zayas
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The Whitney's are only charged with Adoption prior to reasonable efforts NO DAMAGES are being asked from them.

1. Defendants Jeffery and Amber Whitney have filed for a restraining against the Plaintiff claiming to

    fear for their lives that the Plaintiff is going to cause harm to their children.

2. The Whitney's do not seem to be afraid while they continue to take the Plaintiffs child on extended

    trips and every weekend without a care in the world while the Plaintiff misses many visits. they brag

    that the Plaintiffs child would rather them be her parent.

3. The Whitney's call the Plaintiff names like "mentally ill" in front of her 5 year old child. The Plaintiffs

    child does not live with them anymore because of their "fear" of the Plaintiff.

4. The Whitney's refer to themselves as "Foster Mommy and Daddy" telling the Plaintiffs child they are

    going to take her on a "Daddy Daughter Date" in the end of July 2020.

5. The Whitney's refuse to comb the Plaintiffs child's hair.

6. The Whitney's have taken the Plaintiffs child to church and taught her how to pray.

7. The Whitney's have received "adoption assistance" since day one of placement, so their plan has been

    and still remains to adopt the Plaintiffs child.

8. The Whitney's have taken away the Plaintiffs child's bike stating it was too "boyish" and have since

    purchased her child a new more girly bike.

9. The Whitney's do not have the permission of the Plaintiff to adopt her child, the Plaintiff has not

    signed a Dependency Order for adoption assistance to begin.

10. All paid foster-to-adopt parents should be made aware that they should not ever refer to themselves

    as mother or father, even with the word foster in front of it. Father and mother is reserved for those

    who sacrifice to care for their children and do not require "adoption assistance" to care for their

    children.

11. This has been common practice to immediately, to begin the adoption process and the foster-to-

    adopt parents are very aware of this but the biological parents have no clue their child is being

    adopted, this needs to end. They are hiding the termination petition in the Dependency Order and

    tricking the parents to sign it.




                                                   Myriam Zayas amended 10/01/2020
